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                         THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW HAMPSHIRE



UNITED STATES OF AMERICA

v.                                                           Cr. No. 19-cr-142-01-LM



NATHAN CRAIGUE

                                   JOINT CASE SUMMARY
       Nathan Craigue, the owner of Craigue & Sons Home Exteriors LLC, was contracted to

replace windows and install siding at 280 Pleasant Street in Concord, New Hampshire. On

August 28, 2018, Kenneth McKenna, a worker at that jobsite, had an accident there, which was

investigated by Officer Scott Kelly from the Occupational Safety and Health Administration

(OSHA). This case involves an alleged statement made by Mr. Craigue, which the indictment

alleges was false, fictitious, and fraudulent, and which the indictment also alleges Mr. Craigue

knew was false at the time he made it. The alleged false statement occurred on the jobsite on

August 28, 2018, when Mr. Craigue allegedly told Officer Kelly that workers Nicholas Ford

and Kenneth McKenna were subcontractors and not employees of Mr. Craigue or his business.

                                                     Respectfully submitted,


Date: June 1, 2021                                   /s/ Dorothy E. Graham
                                                     Dorothy E. Graham
                                                     N.H. Bar No. 11292
                                                     Assistant Federal Defender
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                               CERTIFICATE OF SERVICE


       I hereby certify that the above document was served on the following person on June 1,
2021 and in the manner specified herein: electronically served through CM/ECF to AUSA John
Davis, AUSA Aaron Gingrande and AUSA Anna Dronzek.


                                                   /s/Dorothy E. Graham
                                                   Dorothy E. Graham
